    Case 4:10-cr-00019-HLM-WEJ Document 177 Filed 11/13/13 Page 1 of 1
                                                            FILED IN CHAMBERS
                                                               U.S,D.C. Rome
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                     UNITED STATES DISTRICT COURT                NOV 1 3 2013
                     NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

JAVIER NUNEZ-GONZALEZ,                  MOTION TO VACATE
BOP No. 60817-019,                      28 U.S.C. § 2255
           Movant,
      v.                                CRIMINAL ACTION NO.
                                        4:10 CR-19-RLV-WEJ-1
UNITED STATES OF AMERICA,
           Respondent.                  CIVIL ACTION NO.
                                        4:12-CV-145-RLV-WEJ


                               o R D E R
     After carefully considering the report and recommendation of

the magistrate judge, the court receives it with approval and

adopts it as the opinion and order of this court.

     SO ORDERED, this     IJ~ day      November, 2013.




                                                               Judge
